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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

DIAMOND ARNOLD-JOHNSON                                                     PLAINTIFF

v.                        CASE NO. 4:24-CV-00582-BSM

JAMES MORRIS, et al.                                                    DEFENDANTS

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 19th day of December, 2024.



                                                 UNITED STATES DISTRICT JUDGE
